






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00838-CV






In re Cynthia Johnson






ORIGINAL PROCEEDING FROM BELL COUNTY





M E M O R A N D U M   O P I N I O N


	Relator has filed a motion for emergency relief and a petition for writ of mandamus,
complaining that the trial court should have granted her motion for a temporary injunction.  See Tex.
R. App. P. 52.8, 52.10.  Having reviewed the record provided by relator, which consists only of
relator's petition for injunctive relief and the trial court's order denying relief, we cannot conclude
that the trial court abused its discretion in making its determination.  We therefore overrule the
motion for emergency relief and deny the petition for writ of mandamus.

							


					__________________________________________

					David Puryear, Justice

Before Chief Justice Jones, Justices Puryear and Pemberton

Filed:   January 4, 2011


